 Case: 4:05-cr-00085-HEA     Doc. #: 157 Filed: 09/27/05   Page: 1 of 2 PageID #:
                                        498



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
            Plaintiff,                   )
                                         )
v.                                       ) Case No. 4:05CR85 HEA
                                         )
OTIS McALLISTER,                         )
                                         )
            Defendant.                   )


                  OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on defendant McAllister’s Motion to Suppress

Evidence and Statements, [Doc. No. 17], to Suppress Electronic Surveillance, [Doc.

No. 18], to Suppress Evidence and Statements, [Doc. No. 106], to Suppress

Wiretap Evidence, [Doc. No 108], and to Suppress Identification Testimony, [Doc.

No. 110]. The Court referred this matter to United States Magistrate Judge David

Noce for a Report and Recommendation pursuant to 28 U.S.C. § 636(b).

      On May 26, 2005, an evidentiary hearing was held. Evidence was offered

during the hearing. Judge Noce filed his recommendation on September 8, 2005

that defendant’s motions be denied. No objections to the report and

recommendation have been filed.

      The Court has considered Judge Noce’s reasoning for his recommendation
 Case: 4:05-cr-00085-HEA    Doc. #: 157 Filed: 09/27/05     Page: 2 of 2 PageID #:
                                       499



and agrees with Judge Noce’s conclusions.

      Accordingly,

      IT IS HEREBY ORDERED that the Motion to Suppress Evidence and

Statements, [Doc. No. 17], the Motion to Suppress Electronic Surveillance, [Doc.

No. 18], the Motion to Suppress Evidence and Statements, [Doc. No. 106], the

Motion to Suppress Wiretap Evidence, [Doc. No 108], and Motion to Suppress

Identification Testimony, [Doc. No. 110] filed by defendant McAllister, are denied.

      Dated this 27th day of September, 2005.



                                      ___________________________________
                                          HENRY EDWARD AUTREY
                                      UNITED STATES DISTRICT JUDGE




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